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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


Father Chris Collins, et al.,                      )
                                                   )
                Plaintiffs,                        )
                                                   )
    v.                                             )   No. 15-cv-1704
                                                   )
Doe Run Resources Corporation, et al.,             )   (consolidated)
                                                   )
                Defendants.                        )
                                                   )

                              REPORT TO COURT ORDER TO
                          IDENTIFY WHO HAVE REACHED AGE 18

         COME NOW, Plaintiffs, by and through the undersigned counsel, pursuant to the Court’s

Order entered on May 14, 2024 (ECF No. 844), hereby submit a list of individuals who have

reached the age of majority since September 1, 2024:

 Last Name                      First Name                     Initials       Index Number
 Asto Aliaga                    Angeli Milagros                AMAA           4:17-cv-00787-RWS
 Onofre Rodriguez               Anyely Aracely                 AAOR           4:19-cv-02843-RWS
 Gonzales Castañeda             Aracely Karina                 AKGC           4:16-cv-00634-RWS
 Fernandez Zacarias             Jhoseps                        JFZ            4:17-cv-01687-RWS
 Zacarias Machuca               Yojan Sabino                   YSZM           4:19-cv-00627-RWS


                                               Respectfully submitted,

 NAPOLI SHKOLNIK                                RODRIGUEZ TRAMONT + NUÑEZ, P.A.

 By: /s/ Patrick J. Lanciotti                   By: /s/ Frank R. Rodriguez
 Patrick J. Lanciotti, #5407523NY               Frank R. Rodriguez, #348988FL
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                                                frr@rtgn-law.com
                                                pan@rtgn-law.com

                                                Attorneys for Plaintiffs
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                               CERTIFICATE OF SERVICE


       The undersigned certifies that on October 1, 2024, the foregoing was electronically filed
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
upon counsel of record.



Dated: October 1, 2024

                                                         _____/s/ Patrick J. Lanciotti_________




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